Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 1 of 22




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Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 2 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 3 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 4 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 5 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 6 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 7 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 8 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 9 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 10 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 11 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 12 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 13 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 14 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 15 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 16 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 17 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 18 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 19 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 20 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 21 of 22
Case 3:24-mc-05001-DGE Document 1-7 Filed 02/06/24 Page 22 of 22
